Case 1:19-cv-20502-JEM Document 36 Entered on FLSD Docket 02/04/2019 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


  JASON KERZNOWSKI, Individually and On      Case No. 2:18-cv-13834-SRC-CLW
  BehaLf of All Others Similarly Situated,   Hon. Stanley R. Chester

                             Plaintiff,

         V.


  OPKO HEALTH, INC., PHILLIP FROST,
  ADAM LOGAL, and JUAN F. RODRIGUEZ,

                             Defendants.



           .1]. ORDER APPOINTING THE AMITIM FUNDS AS LEAD PLAINTIFF
        AND APPROVING THEIR SELECTION OF LEAD AND LIAISON COUNSEL
Case 1:19-cv-20502-JEM Document 36 Entered on FLSD Docket 02/04/2019 Page 2 of 3




          Upon consideration of (1) the Motion of the Amitim funds’ for appointment as Lead

   Plaintiff and approval of their selection of Lead and Liaison Counsel; (2) the Memorandum of Law

   in support thereof; (3) the Declaration of James E. Cecchi; and (4) all other pleadings and argument

   submitted to this Court; and for good cause shown,

   IT IS HEREBY ORDERED THAT:

          1.      The Amitim funds’ Motion is GRANTED.

          2.      The Amitim funds are APPOINTED to serve as Lead Plaintiff pursuant to Section

   21D(a)(3)(B) of the Securities Exchange Act of 1934, 15 U.S.C.     § 78u-4(a)(3)(B), as amended by
   the Private Securities Litigation Reform Act of 1995, in the above-captioned action and all related

   actions consolidated pursuant to paragraph 4 of this Order.

          3.      The Amitim funds’ selection of Lead Counsel is APPROVED, and Bernstein

   Litowitz Berger & Grossmann LLP is APPOINTED as Lead Counsel for the Class and Carella,

   Byrne, Cecchi, Olstein, Brody & Agnello, P.C. is APPOINTED as Liaison Counsel for the Class.

          4.      Pursuant to Rule 42(a) of the federal Rules of Civil Procedure, any subsequently

   filed, removed, or transferred actions that are related to the cLaims asserted in the above-captioned

   action are CONSOLIDATED for all purposes.

          5.      This action shall be captioned “In re OFKO Health, Inc. Securities Litigation” and

   shall be maintained under master file number 2:1 8-cv-1 3834-SRC-CLW.




     The “Amitim Funds” consist of the following five related Israel-based pension funds:
   Mivtachim The Workers Social Insurance fund Ltd.; Keren Hgimlaot Hmerkazit Histadrut
   Central Penion Fund lZtd.; Kerren Makeft Pension and Providëht Center Cooperative
   Society Ltd.; The Hadassah Workers Pension fund Ltd.; and The “Egged” Members Pension
   Fund Ltd.
Case 1:19-cv-20502-JEM Document 36 Entered on FLSD Docket 02/04/2019 Page 3 of 3




        IT IS SO ORB RED.

   Dated:_________________ 20J
                                     (
                                           I-Y rab1Stan1(-eister, U.S.D.J.




                                       2
